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                                  UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA

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--                                                                   :
NEXTERA ENERGY GLOBAL HOLDINGS                                       :
B.V. and NEXTERA ENERGY SPAIN                                        :
HOLDINGS B.V.,                                                       :
                                                                     : 19 Civ. ______
                                                      Petitioners,:
                                                                     :
                                 v.                                  :
                                                                     :
KINGDOM OF SPAIN                                                     :
                                                                     :
                                                     Respondent:
                                                                     :
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                                             [PROPOSED] ORDER

         Upon consideration of the Petition to Recognize and Confirm International Arbitral

Award Pursuant to the 1965 ICSID Convention, submitted by Petitioners NextEra Energy Global

Holdings B.V. and NextEra Energy Spain Holdings B.V.,

         It is ORDERED, ADJUDGED and DECREED that Petitioner's Petition is GRANTED;

and it is further ORDERED that:

         a. The arbitral award issued on May 31, 2019 in ICSID Case No. ARB/14/11 ("the

             Award") against Respondent the Kingdom of Spain be and is hereby recognized and

             confirmed in the same manner as a final judgement of a court of one of the several

             states;
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      b. The Clerk of the Court is hereby directed to enter judgment upon the the Award in

         favor of Petitioners and against the Kingdom of Spain in the amounts specified

         therein, namely, (a) EUR 290,600,000, plus interest at the rate of 0.234%,

         compounded monthly, from June 30, 2016 to the date of judgment; (b) USD

         4,279,400.67, plus interest at the rate of 0.234%, compounded monthly, from May 31,

         2019 to the date of judgment; and (c) EUR 1,042,135.30, plus interest at the rate of

         0.234%, compounded monthly, from May 31, 2019 to the date of judgment; and

      c. Post-judgment interest on such sums shall apply at the rate applicable under 28

         U.S.C. § 1961.

SO ORDERED.

Dated:__________________, 2019

                                                             __________________________

                                                                 United States District Court




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